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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS



MOISES FERNANDEZ, et al.

        Plaintiffs,                              Civ. No. 09-12149-EFH

v.

KYLE R. WILCOX, et al.,

        Defendants



                      MEMORANDUM IN SUPPORT OF
                           MOTION TO DISMISS
                ON BEHALF OF DEFENDANT SCOTT MCNAMARA

                                I.    INTRODUCTION

     Defendant Scott McNamara (“McNamara”) submits this Memorandum in

support of his Motion to Dismiss the Complaint filed by Plaintiffs Moises

Fernandez and Ruben Fernandez (“the Plaintiffs”). The Complaint fails to allege

sufficient facts, even if taken for the purposes of this Motion to be true, to form

the basis of any relief against him, and as such fails to state a claim.

Therefore, McNamara is entitled to dismissal of the Complaint pursuant to Fed.

R. Civ. P. 12(b)(6).


        II.    THE COMPLAINT FAILS TO STATE A CLAIM UPON
               WHICH RELIEF MAY BE GRANTED AGAINST MCNAMARA

     The Plaintiffs filed an eight-count Complaint in this Court on or about

December 21, 2009. The Complaint appears to seek relief against all
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Defendants on all counts, and on behalf of both Plaintiffs on all counts. See

Complaint at ¶¶110-124 (while the paragraphs 110, 112, 114, 116, 118, 120,

121, and 122 refer to “the plaintiff,” paragraphs 111, 113, 115, 117, 119, 120,

122, and 124 refer to “the plaintiffs”). Speaking generally, the Complaint

appears to allege that the Plaintiffs were wrongfully arrested and thereafter

mistreated by one or more members of the Lawrence Police Department, and

names as defendants five current or former Lawrence police officers, as well as

the City of Lawrence, the Mayor of Lawrence, and the Chief of Police.

      Despite its length, the Complaint fails to attribute sufficient acts or

omissions to McNamara sufficient to form any basis for liability. The only

specific allegations of fact relating to McNamara are the following:


      ¶ 9.   Defendant Lt. McNamara (“McNamara”), sued in his
             individual and official capacities as a police officer of
             Lawrence at the time of this incident, who was acting under
             of color of the laws of Massachusetts and who was the agent,
             servant, or employee of the City.

      ¶ 43.1 The recording of the 911 call made to the State Police and
             the response of the Lt. McNamara who answered it provides
             a chilling picture of the incident underlying this action.
             Excerpts include: “Yeah, I need help… Where are you… I’m
             in the police station in Lawrence, Massachusetts… You’re in
             the police station?... Yeah, and they hit, they hitting me
             [unintelligible] they hitting me a lot I’m bleeding a lot… They
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       This paragraph (43) appears to excerpt from a document, not allege any
free-standing facts. Without waiving any objection to this paragraph’s
inclusion in the Complaint, McNamara assumes for the purposes of this Motion
that the Plaintiffs intend to allege that the events described in their excerpt
happened for the purposes of their Complaint. McNamara does not concede
the authenticity or accuracy of the “excerpts” cited by the Plaintiffs. Nor do
transcripts of 911 calls or testimony fall within the category of “matters of
public record” properly before a court considering a motion to dismiss.



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            hit you? Huh? What did you say … They hit me in the ear…
            What’s your name? Moises Fernandez. What is your name?
            Moises Fernandez… Ok, Hold on a second, sir, hold on…
            [911 operator calls Lawrence PD]… I have a phone caller that
            reports he’s in your police station; and he needs some
            assistance, he’s bleeding… Ok [Laughter by Lt. McNamara at
            Lawrence PD] – we’ll uh, we’ll send somebody down.

      ¶ 57.2 Officers up the chain of command signed off on Mr. Wilcox’s
            report validating it as an official report, and they are also
            responsible to the Fernandez brothers.

      ¶ 74.3 The following officers who came into contact with plaintiffs,
            and who testified in the criminal case, lied about the
            circumstances of the plaintiffs’ beating: Guthrie, Terrance
            Pennington, Lt. McNamara, and Fabian Guerrero (who coyly
            claimed he didn’t see blood because “I wasn’t looking for any
            blood”).

      ¶ 75.4 Lt. McNamara testified at a court hearing before Judge
             Lynne Rooney that “I saw that (Fernandez was) not in the
             process of being abused in any way,” and despite the injuries
             he never bothered to start an investigation into this case.

      These allegations do not provide a basis for relief against McNamara. In

particular, and as discussed in detail below, the Complaint does not allege

sufficient facts which could support a finding that McNamara violated either of

the Plaintiffs’ civil rights, or otherwise committed tortious conduct, as alleged

in the eight counts of the Complaint.

2     This paragraph does not mention McNamara by name, or attribute any
particular act to him, but since he is alleged to have been a Lieutenant at the
relevant time, he would fall into the category of “officers up the chain of
command.”

3      While the Plaintiffs do not specify what in particular McNamara said that
was not true, it does not matter for present purposes because, inter alia, police
officers are entitled to absolute immunity from suit under §1983 for perjury
during criminal trials. See Bricoe v. LaHue, 460 U.S. 325, 326 (1983).

4     The Complaint does not make clear which of the Plaintiffs McNamara
allegedly testified about.


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   The application of Federal Rule of Civil Procedure 12(b) is familiar and need

not be belabored here. When ruling on a Motion brought under this Rule, the

Court must accept the facts stated in the Complaint as true. See, e.g.,

Lamoureaux v. Haight, 648 F.Supp.1169, 1172 (D. Mass. 1986). Further,

“[t]he court must also view those alleged facts in the light most favorable to the

plaintiff, and the complaint may only be dismissed if ‘it appears beyond doubt

that the plaintiff can prove no set of facts which would entitle [him] to relief.’”

See id. (quoting Conley v. Gibson, 355 U.S. 41, 45-46 (1957)).

      Nevertheless, while the Plaintiffs are not required to set forth detailed

factual allegations in their Compliant, they are required to make “a short and

plain statement of the claim showing that the pleader is entitled to relief.” Fed.

R. Civ. P. 8(a)(2). See also Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555

(2007) (“Twombly”); Thomas v. Rhode Island, 542 F.3d 944, 948-49 (1st Cir.

2008). This, they have failed to do.

      The United States Supreme Court has very recently ruled on the

minimum standards for pleadings. See Ashcroft v. Iqbal, 129 S. Ct. 1937 (May

18, 2009) (“Iqbal”). In Iqbal, the Court held that, “[t]o survive a motion to

dismiss, a complaint must contain sufficient factual matter, accepted as true,

to ‘state a claim to relief that is plausible on its face.’” 129 S. Ct. at 1949

(citing Twombley). “Threadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice.” Id. “Rule 8 … does

not unlock the doors of discovery for a plaintiff armed with nothing than

conclusions.” Id. at 1950. Here, while the Plaintiffs will no doubt argue that



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they ought to be permitted to conduct discovery to develop claims against

McNamara, their Complaint is not a sufficient key to unlock that door. Indeed,

the Complaint comes perilously close to the line set by Fed. R. Civ. P. 11, if it

does not cross it.

      The Iqbal court suggested that a court considering a motion to dismiss

“begin by identifying pleadings that, because they are no more than

conclusions, are not entitled to the assumption of truth.” 129 S.Ct at 1950.

This description applies to paragraphs 103, 104, 105, 107, 108, 111, 113, 115,

117, 119, 120, 122, and 124, as well as the second clause of paragraph 57.

The Court should therefore not credit the allegations, such as they are, within

these paragraphs. This leaves paragraphs 9, 43, 57 (first clause), 74 and 75 as

the only portions of the Complaint making any reference to McNamara at all.

As the next step to considering this Motion to Dismiss, the Court should

assume the veracity of these paragraphs “and then determine whether they

plausibly give rise to an entitlement to relief.” Id. Paragraph 9 alleges no more

than McNamara’s employment as a police officer by the City of Lawrence, and

thus does not give rise to any entitlement to relief.

   This leaves paragraph 43, which alleges that McNamara received a call from

the State Police informing him that a detainee was bleeding and needed

assistance, which McNamara said he would provide; the first clause of

paragraph 57, which alleges that “officers up the chain of command,” possibly

including McNamara, “signed off on Mr. Wilcox’s report validating it as an

official report”; paragraph 74, which alleges that McNamara “came in contact



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with [the] plaintiffs,” “testified in the criminal case [against Wilcox]” and “lied

about the circumstances of the plaintiffs’ beating”; and paragraph 75, which

alleges that McNamara testified at a hearing that “I saw that (Fernandez) was

not in the process of being abused in any way,” and further testified that

“despite the injuries he never bothered to start an investigation into this case.”

Notably, nowhere do the Plaintiffs allege where or when McNamara “came into

contact” with them, or what he allegedly saw, said, or did when he did so.

       The allegations summarized in the preceding paragraph do not make up

the elements of proof of any of the eight counts in the Complaint in this matter,

much less all eight of them. As to the first and third Counts, the Complaint

nowhere specifies how McNamara allegedly deprived either Plaintiff of a right

secured by the Constitution or by the laws of the United States or of

Massachusetts. As to the second Count, even assuming that the Plaintiffs have

made a proper presentation of their claim under M.G.L. c. 258, §§ 2,4,

McNamara is not a “public employer” within the meaning of that statute.

    As to the fourth and fifth counts, the Plaintiffs nowhere allege that

McNamara witnessed either any supposed assault and battery, arrest, or false

imprisonment, much less participated in such. Nor is it alleged that

McNamara ever had notice of the assault and battery upon the Plaintiffs, much

less any opportunity to intervene.5 As to the sixth and seventh counts of the



5
      Assuming that the Plaintiffs will cite the 911 call as the basis of some
imputed knowledge to McNamara of the beating they allege, a careful reading of
paragraph 43 of the Complaint shows that the Plaintiffs allege complaining of a
beating to the State Police dispatcher, but that the State Police dispatcher


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Complaint, nowhere do the Plaintiffs set forth any description of anything

McNamara supposedly did that either intentionally or negligently inflicted

emotional distress upon either of them. Finally, even if one infers from the

Complaint that McNamara owed the Plaintiffs some duty of care, nowhere does

the Complaint specify how McNamara could have breached that duty, or what

harm either Plaintiff suffered as a result. Thus, there are no facts alleged

which could form the basis of a finding of negligence against McNamara (count

8).6

    Assuming that the Plaintiffs may argue that the acceptance of Wilcox’s

report as an “official report” forms the basis for liability of “officers up the chain

of command” (Complaint at ¶57), possibly including McNamara, under one or

more of the Counts of the Complaint, they have not alleged sufficient facts to

warrant any such liability. In particular, even if one indulges in the

assumption that McNamara was among the “officers up the chain of command”

who signed off on the report, the Plaintiffs have not alleged that McNamara

knew or had reason to know, at the time the report was signed, that anything

contained therein was false.



(allegedly) tells McNamara that one of the Plaintiffs is bleeding and claims a
need for assistance. See Complaint at ¶ 43.

6     The Plaintiffs do allege that McNamara testified that he saw one or the
other of them in the process of not being abused, and that he testified he did
not investigate this non-abuse “despite the injuries.” Even assuming arguendo
that the Plaintiffs can launder allegations through McNamara’s testimony,
which they themselves cast aspersions on, this is not specific enough for
McNamara to respond to, or to form the basis of any recovery against
McNamara.


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   In sum, in order to proceed against McNamara on one or more counts of a

Complaint filed in federal court, the Plaintiffs must state, with some specificity,

what they allege McNamara did to them. Because they have failed to do so,

their Complaint must be dismissed.


               III.   CONCLUSION AND REQUEST FOR RELIEF

   Under Fed. R. Civ. P. 8 and the analysis undertaken by the Iqbal court, the

Plaintiffs have failed to allege sufficient facts to entitle them to any relief

against McNamara, under any count of the Complaint against him.

Accordingly, the Complaint fails to state a claim against McNamara upon

which relief may be granted. For all of the reasons set forth above, McNamara

asks that the Complaint be DISMISSED as to him, and that the Court grant

such other and further relief as justice may require.



                                        Respectfully submitted,

                                        For Defendant Scott McNamara,
                                        /s/ Mark Hickernell
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Date: May 6, 2010




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                        CERTIFICATE OF SERVICE

      I, Mark A. Hickernell, do hereby certify that a true copy of the
foregoing Memorandum In Support Of Motion To Dismiss On Behalf Of
Defendant Scott McNamara has been served on all attorneys of record via
the Electronic Case Filing System today.

Date: May 6. 2010                  /s/ Mark A. Hickernell
                                   Mark A. Hickernell




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